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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 In re:                                                   )   Chapter 11
                                                          )
 EASTERN LIVESTOCK CO., LLC,                              )   Case No. 10-93904-BHL-11
                                                          )
                         Debtor.                          )

                   PROPOSED AGENDA OF MATTERS SCHEDULED FOR
                     HEARING ON MARCH 12, 2012 AT 10:00 A.M. EDT

          James A. Knauer, the chapter 11 trustee appointed in this case ("Trustee"), by counsel,

 submits this proposed agenda for the hearing scheduled for March 12, 2012 at 10:00 a.m. EDT

 ("Hearing") in Room 103, U.S. Courthouse, 121 West Spring Street, New Albany, Indiana. The

 Trustee anticipates that the matters before the Court for the Hearing will take approximately two

 (2) hours.

          I.     DIAL IN INFORMATION

                 The dial-in telephone number for interested parties to participate in the Hearing

 by conference call is 1-888-399-7768; passcode 586676, followed by the pound ("#") key.

          II.    CONTINUED MATTERS

                 1.      ["Motion to Consolidate"] Motion to Consolidate Cases (docket #975)
                         continued from February 13, 2012

                         a)     Trustee's Response To Florida Creditors' Rule 7042 Motion To
                                Consolidate (docket #1018)

                         b)     Florida Creditors' Motion To Seal Reply To Trustee Response And
                                Notice Of Filing Evidentiary Materials In Support Of Florida
                                Creditors Rule 7042 Motion To Consolidate And For Expedited
                                Hearing (docket #1027)

                        Status: Going forward

                 2.      ["Motion for Protective Order"] Motion of Fifth Third Bank, N.A. to
                         Limit or, Alternatively, for a Protective Order (docket #1005) continued
                         from February 13, 2012
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                      a) Exhibits A & B To Motion Of Fifth Third Bank, N.A. To Limit
                         Discovery Or, Alternatively, For A Protective Order (Dkt No. 1005)
                         (docket #1011)

                      b) [Joplin Regional Stockyards and Superior Livestock Auction, Inc.]
                         Objection To Motion Of Fifth Third Bank To Limit Discovery Or ,
                         Alternatively, For A Protective Order (docket #1021)

                      c) [Florida Creditors] Joinder In Objection To The Trustee's Motion For
                         Release Of Proceeds From Account (docket #1024)

                      d) [The First Bank and Trust Company] Objection To Motion Of Fifth
                         Third Bank, N.A. To Limit Discovery Or, Alternatively, For A
                         Protective Order (docket #1025)

                      Status: Order Granting in Part and Continuing in Part the Motion of
                              Fifth Third Bank, N.A. to Limit Discovery, or, Alternatively,
                              for a Protective Order (docket #1051)

         III.    NEW MATTERS

                 3.   ["Peoples Bank Settlement"] Motion To Approve Compromise And
                      Settlement With Peoples Bank And Trust Company Of Pickett County
                      (docket #990)

                      Status: No objection filed; going forward

                 4.   ["Sale Motion"] Motion For Order Approving Proposed Auction Sale Of
                      Real Estate Free And Clear Of Liens, Claims And Encumbrances Pursuant
                      To 11 U.S.C. § 363 (docket #1046)

                      Status: No objection filed; going forward

                 5.   ["Employment Application"] Application To Employ Ken Byrd Realty
                      & Auction, Inc. As Auctioneer (docket #1047)

                      a)      Affidavit Of Ken Byrd In Support Of Application To Employ Ken
                              Byrd Realty & Auction, Inc. As Auctioneer (docket #1048)

                      Status: No objection filed; going forward

                 6.   ["Employment Application"] Application To Employ Kroger, Gardis &
                      Regas, LLP As Special Counsel To Chapter 11 Trustee (docket #1056)

                      Status: No objection filed; going forward

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                 7.    ["Elmore"] Trustee's Motion To Stay Deadlines In Elmore Contested
                       Matter (docket #1072)

                       Status: No objection filed; going forward

                 8.    ["Coffeyville"] Trustee's Motion To Stay Deadlines In Coffeyville
                       Contested Matter (docket #1073)

                       Status: No objection filed; going forward

         IV.     ADVERSARY PROCEEDINGS

                 9.    ["Downs"] James A. Knauer, Chapter 11 Trustee of Eastern Livestock
                       Co., LLC vs Willie Downs (Adv. Proc. 11-59086)

                       a)      [Bluegrass Stockyards, LLC, Bluegrass Stockyards East, LLC, and
                               Bluegrass Stockyards of Richmond, LLC] Motion For
                               Determination As To Confidentiality Of Documents Produced To
                               Data Room Or, Alternatively, To File Documents Under Seal As
                               Required By Discovery Protocol And Confidentiality Agreement
                               (docket #52)

                       Status: Going forward

                 10.   ["Superior"] Superior Livestock Auction, Inc. vs Eastern Livestock Co.,
                       LLC (Adv. Proc. 11-59088)

                       a)      Motion Pursuant To Fed R. Bankr. P. 9006(c) For Emergency
                               Hearing On Motion Of Fifth Third Bank, N.A. To Limit Discovery
                               Or, Alternatively, For A Protective Order (docket #120)

                       Status: Going forward

                 11.   ["Friona"] Friona Industries, LP, et al. vs Eastern Livestock Co., LLC, et
                       al. (Adv. Proc. 11-59093)

                       a)      Motion of Fifth Third Bank, N.A. to Limit or, Alternatively, for a
                               Protective Order (docket #366)

                       b)      [Bluegrass Stockyards, LLC, Bluegrass South Livestock Market,
                               LLC, Bluegrass Stockyards East, LLC, Bluegrass Stockyards of
                               Campbellsville, LLC, Bluegrass-Maysville Stockyards, LLC,
                               Alton Darnell, East Tennessee Livestock Center, Inc., Moseley
                               Cattle Auction, LLC, Piedmont Livestock Company, Inc., and
                               Southeast Livestock Exchange, LLC] Motion For Determination

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                                As To Confidentiality Of Documents Produced To Data Room Or,
                                Alternatively, To File Documents Under Seal As Required By
                                Discovery Protocol And Confidentiality Agreement (docket #376)

                       c)       Walter Scott Newbern III 's Notice Of Appearance And Motion to
                                Intervene (docket #383)

                       Status: Going forward

                 12.   ["Innovative"] Innovative Livestock Services, Inc., et al. vs Eastern
                       Livestock Co., LLC, et al. (Adv. Proc. 11-59098)

                       a)       Motion of Fifth Third Bank, N.A. to Limit or, Alternatively, for a
                                Protective Order (docket #59)

                       Status: Going forward

                 13.   ["Rush Creek Ranch"] Rush Creek Ranch, LLLP vs Eastern Livestock
                       Company, LLC, et al. (Adv. Proc. 11-59104)

                       a)       Florida Creditors Rule 7042 Motion To Consolidate (docket #29)

                       b)       Motion of Fifth Third Bank, N.A. to Limit or, Alternatively, for a
                                Protective Order (docket #34)

                       c)       Trustee's Response To Florida Creditors' Rule 7042 Motion To
                                Consolidate (docket #38)

                       Status: Going forward

                 14.   ["Fredin Brothers"] Fredin Brothers, Inc. vs Bankers Bank, et al. (Adv.
                       Proc. 11-59108)

                       a)       Motion of Fifth Third Bank, N.A. to Limit or, Alternatively, for a
                                Protective Order (docket #79)

                       Status: Going forward

         V.      RELATED CASES

                            In re East-West Trucking, Case No. 10-93799

                 15.   ["Claims Objection"] Trustee's First Omnibus Objection To Claims And
                       Notice Of Response Deadline (docket #257)




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                       a)     Stipulation Resolving Trustee's First Omnibus Objection To Claim
                              Of Cattlemen's Feedlot, Ltd (Claim 38) (docket #259)

                       b)     Response of Fifth Third Bank to Trustee's First Omnibus Objection
                              to Claims and Notice of Response Deadline (docket #262)

                       c)     ELC Trustee's Response To Trustee's First Omnibus Objection To
                              Claims And Notice Of Response Deadline (docket #263)

                       d)     Creditor Grant Gibson's response (docket #265)

                       e)     Stipulation Resolving Trustee's First Omnibus Objection to Claim
                              of Grant Gibson (Claim 30) (docket #276)

                       Status: Agreed Motion To Continue Hearing filed (docket #277)

                       In re Thomas and Patsy Gibson, Case No. 10-93867

                 16.   ["Trustee K. Pry's Extension of Time"] Trustee's Motion for Third
                       Extension of Time to File Complaint Objecting to the Debtors' Discharge
                       (docket #493)

                       a)     Debtors' Objection To Third Motion Of Kathryn L. Pry, Trustee
                              For Extension To Time To File A Complaint Objecting To
                              Discharge (docket #522; 534)

                       Status: Going forward

                 17.   ["The First Bank And Trust Company's Extension of Time"] Motion
                       For Extension Of Time To File A Complaint Objecting To Discharge Of
                       The Debtor Or To Determine Dischargeability Of Certain Debts (docket
                       #494)

                       a)     Debtors' Objection To Motion Of The First Bank And Trust
                              Company For Extension To Time To File A Complaint Objecting
                              To Discharge (docket #525; 537)

                       Status: Going forward

                 18.   ["Trustee J. Knauer's Extension of Time"] Third Motion For Extension
                       Of Time To File Complaint Objecting To The Debtors' Discharge And To
                       Challenge Dischargeability Of Certain Debts (docket #495)

                       a)     Debtors' Objection To Third Motion Of James A. Knauer, Trustee
                              For Extension To Time To File A Complaint Objecting To
                              Discharge (docket #523; 535)

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                       Status: Going forward

                 19.   ["U.S. Trustee's Extension of Time"] United States Trustee's Motion
                       For Extension Of Time Within Which To File Complaint To Deny
                       Discharge (docket #496)

                       a)         Debtors' Objection To Motion Of United States Trustee For
                                  Extension To Time To File A Complaint Objecting To Discharge
                                  (docket #521; 533)

                       Status: Going forward

                 20.   ["Fifth Third Bank's Extension of Time"] Third Motion Of Fifth Third
                       Bank For Extension Of Time To File A Complaint Objecting The
                       Discharge Of The Debtor And/Or To Determine The Dischargeability Of
                       Certain Debts (docket #497)

                       a)         Debtors' Objection To Motion Of Fifth Third Bank For Extension
                                  To Time To File A Complaint Objecting To Discharge (docket
                                  #524; 536)

                       Status: Going forward

                 21.   ["Bluegrass Companies' Extension of Time"] Bluegrass Companies'
                       Motion For Third Extension Of Time To Object To Discharge And/Or
                       Dischargeability Of Debt (docket #501)

                       a)         Debtors' Objection To Third Motion Of The Bluegrass Companies
                                  For Extension To Time To File A Complaint Objecting To
                                  Discharge (docket #520; 532)

                       Status: Going forward

         VI.     NEXT SCHEDULED HEARINGS

               The dial-in telephone number for interested parties to participate in the upcoming
 scheduled hearings, as indicated below, by conference call is 1-888-399-7768; passcode 586676,
 followed by the pound ("#") key. The hearings will be held in Room 103, U.S. Courthouse, 121
 West Spring Street, New Albany, Indiana.

                             Hearing Date                                   Time

                 April 23, 2012                            10:00 a.m. EDT
                 May 14, 2012                              10:00 a.m. EDT
                 June 11, 2012                             10:00 a.m. EDT

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                                                  Respectfully submitted,

                                                  FAEGRE BAKER DANIELS LLP


                                                   By:        /s/Terry E. Hall

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 9, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
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         I further certify that on March 9, 2012, a copy of the foregoing pleading was served via
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